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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff-Respondent,

v.                                                        Criminal Case No. 00-80128
                                                          Honorable Denise Page Hood
RODERICK HENRY,

                      Defendant-Petitioner.

                                                      /

                  ORDER DENYING 28 U.S.C. § 2255 MOTION
                         TO VACATE SENTENCE

I.       INTRODUCTION

         This matter is before the Court on Petitioner Roderick Henry’s Motion to

Vacate Sentence, pursuant to 28 U.S.C. § 2255 [Docket No. 338, filed July 18,

2013]. The Respondent filed its response on September 4, 2013 [Docket No. 343].

Petitioner replied on October 7, 2013 [Docket No. 346]. For the reasons stated

below, Petitioner’s motion is DENIED.

II.      ANALYSIS

         Petitioner is currently sentenced to 180 months for his conviction of

conspiracy to distribute more than five kilograms of cocaine. Petitioner alleges that

pursuant to Apprendi v. New Jersey, 530 U.S. 466 (2000), and with clarification by


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Alleyne v. United States, 133 S. Ct. 2151 (2013), any sentence longer than ten (10)

years based on facts not alleged in the Indictment violates the Sixth Amendment.

Petitioner requested to be resentenced to the mandatory minimum sentence of ten

(10) years, or in the alternative, to be resentenced at base offense level 31 Criminal

History Category I for 108 to 135 months.

      A.     Standard of Review

      A motion brought pursuant to 28 U.S.C. § 2255 must challenge the

constitutionality of the sentence. United States v. Jalili, 925 F.2d 889, 893-94 (6th

Cir. 1991). The petitioner may allege that the sentence violated the Constitution or

laws of the United States; the court lacked jurisdiction to impose the sentence; the

sentence was in excess of the maximum allowed by law; or subject to collateral

attack. Id. “To warrant relief under section 2255, a petitioner must demonstrate the

existence of an error of constitutional magnitude which had a substantial and

injurious effect or influence on the guilty plea or the jury’s verdict.” Griffin v.

United States, 330 F.3d 733, 736 (6th Cir. 2003). Relief is only appropriate when

the petitioner shows the existence of “a fundamental defect which inherently

results in a complete miscarriage of justice.” Id. (quoting Davis v. United States,

417 U.S. 333, 346 (1974)).

      To make a collateral attack on a conviction, the petitioner must show “cause

and actual prejudice.” United States v. Frady, 456 U.S. 152, 167 (1982). The


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petitioner must demonstrate that there was “cause” excusing his procedural default

and “actual prejudice” as a result of the errors he now complains of. Id. at 168.

      “Under § 2244(b)(3), state prisoners… seeking to file a second or successive

motion attacking a sentence under 28 U.S.C. § 2255 must request from the court of

appeals an order authorizing the district court to entertain the second or successive

request.” In re Sims, 111 F.3d 45, 46 (6th Cir. 1997). Permission can be obtained

if the Petitioner proves:

             1) newly discovered evidence that, if proven and viewed
             in light of the evidence as a whole, would be sufficient to
             establish by clear and convincing evidence that no
             reasonable factfinder would have found [Petitioner]
             guilty; or 2) a new rule of constitutional law, made
             retroactive to cases on collateral review by the Supreme
             Court, that was previously unavailable.

28 U.S.C. § 2255(h); See also In re Sims, 111 F.3d at 47.

      B.      STANDING

      Petitioner filed a Motion to Vacate Sentence under 28 U.S.C. 2255 [Docket

No. 328, filed July 28, 2011] and the Motion was denied in a February 29, 2012,

Order [Docket No. 336]. Petitioner has not sought permission to file a successive

request as required under 28 U.S.C. § 2255 (h) (2). Petitioner argues that this Court

may determine that Alleyne applies retroactively. The Supreme Court did not

indicate that it intended to have Alleyne apply retroactively and there are no Sixth

Circuit decisions to that effect as well. Even if Alleyne applied retroactively,


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Petitioner is still required to seek the permission of the Court of Appeals. Petitioner

is not entitled to relief under this claim.

III.   CONCLUSION

       Accordingly,

       IT IS ORDERED that Petitioner’s Motion to Vacate Sentence, pursuant to

28 U.S.C. § 2255 [Docket No. 338, filed July 18, 2013] is DENIED.

       IT IS ORDERED that Petitioner’s Motion to be Resentenced in Absentia

[Docket No. 342, filed August 5, 2013] is deemed MOOT.

       IT IS FURTHER ORDERED that this case [Case No. 00-80128] is

DISMISSED with prejudice.



                                   S/Denise Page Hood
                                   Denise Page Hood
                                   United States District Judge

       Dated: January 21, 2015

      I hereby certify that a copy of the foregoing document was served upon
counsel of record on January 21, 2015, by electronic and/or ordinary mail.

                                   S/LaShawn R. Saulsberry
                                   Case Manager




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